OMB No. 1615-0104: Expires 07/31/2012
1-918 Supplement B,

- Department of Homeland Security U Nonimmigrant Status Certification

U, 8, Citizenship and Trmigration Services

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

START HERE - Please type or prin in black i mG For USCIS Use Only.

‘Part! retina Pa cee | Retumed Receipt
Family Name Given Name. Middle Name Date
Wi liegas de la Paz | boana |
Other Names Used (Include maiden name/nickname) a Hod
WWuana VILLHGAS
Date of Birth (min/dd/vyyy) . Gender Date
| [| Male Female [Date
"DArt:2: : gency-information, SOU ee ne OO ET tag om Reloc Sent
Name of Certifying Agency Date
United States District Court for the Middle District of Tennessee
Name of Certifying Official Title and Division/Office of Certifying Official ae Rood
i liiam J. Haynes | lonies United States District Judge
Name of Head of Certifying Agency Date
Chief Judge William J. Haynes | Date
Agency Address - Street Number and Name Suite # Remarks
[sox Broadway | A845 |
City State/Province Zip/Postal Code

ashville Irennessee | bb7203 |
Daytime Phone # (with area code and/or extension) Fax # (with area code)
[(525) 736 7217 | hone |
Agency Type

[xX] Federal ["] State [Local

 

Case Status
[_] On-going [_] Completed [X] Other; Pending

Certifying Agency Category
Judge [| Law Enforcement [7] Prosecutor [7] Other:

Case Number FBI # or SID # (if applicable)

b :09-ev-219 bh/a |

 

 

 

 

 

 

 

 

 

 

1. The applicant is a victim of criminal activity involving or similar to violations of one of the following Federal, State or local
criminal offenses. (Check all that apply.)

[-] Abduction [_] Female Genital Mutilation  [_] Obstruction of Justice [_] Slave Trade

[_] Abusive Sexual Contact [] Hostage [} Peonage [_] Torture

[_] Blackmail [] Incest [] Perjury [_] Trafficking

[| Domestic Violence [| Involuntary Servitude [7] Prostitution [] Unlawful Criminal Restraint
[_] Extortion [_] Kidnapping [_] Rape [_] Witness Tampering

[~] False Imprisonment [-] Manslaughter [] Sexual Assault Xx Related Crime(s)

f~] Felonious Assault [] Murder ["] Sexual Exploitation PX] Other: ({fmore space needed,
[-] Attempt to commit any of [_] Conspiracy to commit any L

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(Contimjed }.

2. Provide the date(s) on which the criminal activity occurred.
Date (mm/dd/yy) Date (mn/ddAyyy) Date (mui/dd/yyyy) Date (nimi/dd/syyy)

07/05/2008 - 07/10/08 | | |

 

 

 

3. List the statutory citation(s) for the criminal activity being investigated or prosecuted, or that was investigated or prosecuted,

 

18 USC 241, 242. See Attachments A - ¢C,

 

 

 

4, Did the criminal activity occur in the United States, including Indian country and military installations, [><] Yes [_]No
or the territories or possessions of the United States?

a. Did the criminal activity violate a Federal extraterritorial jurisdiction statute? [_] Yes No

b. J€"Yes," provide the statutory citation providing the authority for extraterritorial jurisdiction.
P y

| |

c, Where did the criminal activity oceur?

 

 

hvaahville, Davidson County, Tennessee, USA

5. Briefly describe the criminal activity being investigated and/or prosecuted and the involvement of the individual named in Part 1,
Attach copies of all relevant reports and findings.

18 USC 242 - Deliberate indifference to deprivation of constitutional rights under law by (a)
ghackling during the final stages of active labor and post-partum recovery; and (b) denial of a
breast pump. 18 USC 241 - Conspiracy to commit same based on DCSO policy. See Attachment A,
Memorandum Opinion, Docket Entry 244 at 9-10. See also Attachment B, Order of Court, Docket
Mutey 245; and Attachment C, Memorandum Opinion, Docket Entry 119-1 at 34-35.

 

 

 

 

6. Provide a description of any known or documented injury to the victim. Attach copies of all relevant reports and findings.

 

See Attachment D, Declaration of Dr. Jill DeBona, Docket Entry 94-3; Attachment &, Declaration
of Dr. Sandra Torrente, Docket Entry 94-4; and Attachment F, Jury Verdict Form, Docket Entry

192.

 

 

 

 

      

 

The victim (or parent, guardian or next friend, ifthe victim is under the age of 16, incompetent or incapacitated.):

 

1, Possesses information concerning the crinvinal activity listed in Part 3. Yes []No
2. Has been, is being or is likely to be helpful in the investigation and/or prosecution of the Yes [_]No

criminal activity detailed above. (Attach an explanation briefly detailing the assistance the
vietim has provided.)

 

3, Has not been requested to provide further assistance in the investigation and/or prosecution, (_] Yes [X]No.
(Example: prosecution is barred by the statute of limitation) (Attach an explanation)

 

4, Has unreasonably refused to provide assistance in a criminal investigation and/or prosecution ("] Yes No
of the crime detailed above. (Aftach an explanation.)

 

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Greg, Helpfulness of the victim:
5. Other, please specify,

 

 

 

 

  

crs implicated juoriminal activity,

 

1. Are any of the victim's family members believed to have been involved in the criminal activity of

which he or she is a victim? C] Yes XI No

 

2, If"Ves," list relative(s) and criminal involvement, (Attach extra reports or extra sheet(s) of paper if necessary.)

Full Name Relationship Involyement

 

 

 

T am the head of the agency listed in Part 2 or I am the person in the agency who has been specifically designated by the head of the
agency to issue U nonimmigrant status certification on behalf of the agency. Based upon investigation of the facts, I certify, under
penalty of perjury, that the individual noted in Part 1 is or has been a victim of one or more of the crimes listed in Part 3. I certify
that the above information is true and correct to the best of my knowledge, and that I have made, and will make no promises regarding
the above victim's ability to obtain a visa from the U.S, Citizenship and Immigration Services, based upon this certification. I further
certify that if the victim unreasonably refuses to assist in the investigation or prosecution of the qualifying criminal activity of which
he/she is a victim, I will notify USCIS.

Signature of Certifying Official Identified in Part 2, Date (mmn/dd/yyyy)

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